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15    Attorneys for Defendant
16    [Additional counsel appearing on signature page]
17                         UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19
20    Edwardo Munoz, individually and on
      behalf of all others similarly situated,    Case No. 2:18-cv-03893-RGK-AGR
21
                                Plaintiff,
22                                                JOINT STIPULATION FOR AN
             v.                                   EXTENSION OF ALL REMAINING
23                                                DEADLINES
      7-Eleven, Inc., a Texas corporation,
24                                                     Judge: Hon. R. Gary Klausner
                                Defendant.
25                                                 Complaint Filed: May 9, 2018
                                                   Trial Date: July 2, 2019
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27
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      JOINT STIPULATION FOR AN EXTENSION
      OF ALL REMAINING DEADLINES                 -1-
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  1   TO THE HONORABLE COURT AND THE CLERK OF THE COURT:
  2         Pursuant to Local Civil Rule 7.1, Plaintiff Edwardo Munoz (“Plaintiff” or
  3   “Munoz”) and Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”) by and
  4   through their respective counsel of record, hereby stipulate and request that the Court
  5   enter an Order as follows:
  6         WHEREAS, Plaintiff filed this action on May 9, 2018 (Dkt. 1);
  7         WHEREAS, on October 22, 2018, this Court entered a Scheduling Order and
  8   Order for Jury Trial, which set, among other deadlines, the following remaining
  9   deadlines:
10          a.     Discovery Cut-Off Date:           April 3, 2019;
11          b.     Motion Cut-Off Date:              April 17, 2019;
12          c.     Pretrial Conference:              June 17, 2019; and
13          d.     Jury Trial (Est. 3 days):         July 2, 2019 at 9:00 a.m.
14    (Dkt. 44, 45.)
15          WHEREAS, to date, the Parties have been diligently litigating the case,
16    including fully briefing Defendant’s Motion to Dismiss, Plaintiff’s Motion for Class
17    Certification, and Plaintiff’s Proposed Class Notice Plan;
18          WHEREAS, the Parties have also been immersed in extensive discovery,
19    including: serving and responding to various written discovery requests, exchanging
20    informal discovery, serving a subpoena to produce documents upon Sterling
21    Infosystems, Inc., conducting the Rule 30(b)(6) deposition of Defendant’s
22    representative, and preparing for Plaintiff Munoz’s deposition scheduled for
23    February 20, 2019;
24          WHEREAS, the Parties have also reached an impasse regarding several
25    discovery requests and are in the process of resolving the dispute via the Magistrate
26    Judge’s discovery dispute procedures;
27          WHEREAS, in a good faith effort to resolve this matter, the Parties have
28    agreed to attend a full-day mediation session on April 9, 2019 in Toronto, Canada
      JOINT STIPULATION FOR AN EXTENSION
      OF ALL REMAINING DEADLINES               -2-
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  1   with Mediator Michael E. Dickstein (this was the only date and location available for
  2   Mr. Dickstein);
  3         WHEREAS, despite efforts to meet the present deadlines, the Parties request a
  4   brief 30-day extension of all remaining deadlines, including the discovery cut-off
  5   date and the trial date;
  6         WHEREAS, this stipulation is not entered into for the purpose of delay;
  7         WHEREAS, the extension will enable the Parties to devote their time and
  8   resources into resolving all remaining discovery matters and potentially resolving the
  9   case altogether;
10          THEREFORE, in consideration of the foregoing, the Parties, by and through
11    their undersigned counsel, hereby stipulate, agree, and request that the Court enter an
12    Order as follows:
13          1.     That all remaining deadlines be extended by 30-days, as follows:
14                 a. Discovery Cut-Off Date: May 3, 2019;
15                 b. Motion Cut-Off Date: May 17, 2019;
16                 c. Pretrial Conference: July 17, 2019; and
17                 d. Jury Trial (Est. 3 days): August 15, 2019 at 9:00 a.m.
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19    IT IS SO STIPULATED.

20
21    Dated: February 18, 2019               Edwardo Munoz, individually and on behalf
                                             of all others similarly situated,
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23                                    By:     /s/ Steven L. Woodrow
                                             One of Plaintiff’s Attorneys
24
25                                           Mike Arias (CSB #115385)
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26                                           Alfredo Torrijos (CSB #222458)
27                                            alfredo@asstlawyers.com
                                             ARIAS SANGUINETTI WANG &
28                                                 TORRIJOS, LLP
      JOINT STIPULATION FOR AN EXTENSION
      OF ALL REMAINING DEADLINES               -3-
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12                                         Attorneys for Plaintiff Edwardo Munoz
13
14    Dated: February 18, 2019             7-Eleven, Inc.,
15
                                    By:     /s/ Delavan J. Dickson
16                                         One of Defendant’s Attorneys
17
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      JOINT STIPULATION FOR AN EXTENSION
      OF ALL REMAINING DEADLINES             -4-
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  1                            CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on February 18, 2019.
  5
  6                                         /s/ Steven L. Woodrow
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      JOINT STIPULATION FOR AN EXTENSION
      OF ALL REMAINING DEADLINES              -5-
